         Case 8:06-cr-00040-JSM-TGW Document 85 Filed 02/28/07 Page 1 of 6 PageID 219
A 0 245B (Rev 06/05) Sheer I - lud,gment in a Criminal Case



                                 UNITED STATES DISTRICT COURT
                                                          MIDDLE DISTRICT OF FLORIDA
                                                               TAMPA DMSION



UNITED STATES OF AMERICA                                            AMENDED JUDGMENT IN A CRIMINAL CASE

                                                                    CASE NUMBER: 8:06-cr-10-T-30TGW
                                                                    USM NUvlBER: 48481-018




                                                                    Defendant's Attorney: Frank Zaremba, pda.

THE DEFENDANT:

-
X pleaded guilty to count(s) FOUR of the indictment.
- pleaded nolo contendere to count(s) which was accepted by the court.
-was found guilty on count@) after a plea of not guilty.
TITLE & SECTION                           NATURE OF OFFENSE                                  OFFENSE ENDED              COUNT

21 U.S.C. $8846 and 841(a)(l),            Conspiracy to Possess with Intent to Distribute    July 1, 2005               Four
)(l)(A)(iu), and ) ( i i                  50 Grams or More of Cocaine Base and
                                          500 Grams or More of Cocaine


        The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

- The defendant has been found not guilty on count@)
-
X Count(s) TWO and THREE of the Indictment are dismissed on the motion of the United States.

IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney forthis district within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by thiijudgment are fully paid.
If ordered to pay restitution, the defendant shall notify the court and United States Attorney of any material change in economic
circumstances.


                                                                                     Date of Imposition of Sentence: February 21,2007




                                                                                     DATE: February   a f i ,2007
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A 0 245B (Rev 06/05) Sheet 2 - Imprisonment
Defendant:         NIKISHA LOFTON                                                               Judgment - Page 2 of 6
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       After considering the advisory sentencing guidelines and all of the factors identified in Title 18 U.S.C.
$5 3553(a)(l)-(7). the court finds that the sentence imposed is sufficient, but not greater than necessary, to comply with
the statutory purposes of sentencing.


         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of TWENTY-ONE (21) MONTHS as to Count Four of the Indictment.



X The court makes the following recommendations to the Bureau of Prisons: The defendant shall be placed at FCI Coleman
-
(FL), if possible.


- The defendant is remanded to [he custody of the United States Marshal.
-The defendant shall surrender lo the United States Marshal for this district.
         - at - a.m.1p.m. on -.
         - as notified by the United States Marshal.
-
X The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons.

         -before 2 p.m. on -.
         -
         X as notitied by the United States Marshal.
         - as notitied by the Probation or Pretrial Services Oftice.


                                                                   RETURN

          I have executed this judgment as follows:




          Defendant delivered on                                                 to                                      at

                                                                       , with a certified copy of this judgment.



                                                                                        United States Marshal

                                                                       By:

                                                                       Deputy Marshal
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A 0 215B (Rev. 06/05) Sheet 3 - Supervised Release

Defendant:            NIKISHA LOFTON                                                                              Judgment - Page 3of 6
Case No.:             8 :06-cr-40-T-30TGW
                                                           SUPERVISED RELEASE

     Upon release from imprisonment, the defendant shall be on supervised release for a term of THREE (3)
YEARS as to Count Four of the Indictment.
        The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

The defendant shall not cornmil another federal. state, or local crime. The defendant shall not illegally possess a controlled substance.
The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test within 15 days
of release fiom imprisonment and at least two periodic drug tests thereafter, as determined by the court.


           The defendant shall cooperate in the collection of DNA as directed by the probation officer.


            If this judgment imposes a fine or a restitution it is a condition of supervised release that the defendant pay in accordance with
            the Schedule of Payments sheet of this judgment.

            The defendant shall comply with the standard conditions that have been adopted by this court as well as with any additional
            conditions on the attached page.
                                               STANDARD CONDITIONS OF SUPERVISION
            the defendant shall not leave the judicial district without the permission ofthe court or probation ofticer;

            the dcfendant shall report to the probation ofticcr and shall submit a truthful and complete written report within the first five days of each
            month;

            the defendant shall answer truthfully all inquiries by the probation ofticer and follow the instructions of the probation ofiicer;

            the defendant shall support his or her dependents and meet other family responsibililies;

            the dcfendant shall work regularly at a lawful occupation, unless excused by thc probation oficer for schooling, training, or other
            acceptable reasons:

            the defendant shall notify the probation otlicer at least ten days prior to any change in residence or employment;

            the defendant shall refiain tiom excessivc usc of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
            substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

            the defendant shall not fi-equent places wherc controlled substances are illcgdly sold, used, distributed, or administered;

            the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
            felony, unless granted pennission to do so by the probation ofiicer:

            the defendant shall perniit a probation ofiicer to visit him or her at any time at home or elsewhere and shall pennit confiscation of any
            contraband observed in plain view of the probation ofticer;

            the defendant shall notify the probation officer within seventy-two hours of being arrested or questioncd by a law enforcement officer;

            thc defendant shall not enter into any agreement to x t as an infm-mer or a special ~igcntof a law cnforcc~ncnt agcncy without the
            permission of the court;

            as directed by the probation otXcer, the defendant shall notify third parties of risks that may be occasioncd by the defendant's criminal record
            or personal history or characteristics and shall permit the probation otlicer to make such notifications and to contirm the defendant's
            compliance with such notitication requirement.
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A 0 245B (Rev. 06/05) Sheet 3C - Supervised Release

Defendant:           NIKlSHA LOFTON                                                                     Judgment - Page 4 of 6
Case No.:            8:06-cr-40-T-30TGW

                                             SPECIAL CONDITIONS OF SUPERVISION

           The defendant shall also co~nplywith the following additional conditions of supervised release:


-
X          The defendant shall cooperate in the collection of DNA as directed by the probation officer.

-
X         The mandatory drug testing provisions shall apply pursuant to the Violent Crime Control Act. Based on the probation officer's
          determination that additional drug urinalysis is necessary, the Court authorizes random drug testing not to exceed 104 tests
          per year.
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A 0 2458 (Rev 06/05) Sheet 5 - Criminal Monetary Penalties

Defendant:           NIKISHA LOFTON                                                                    Judgment - Page 5 of 6
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                                                CRIMINAL MONETARY PENALTIES

          The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                                Assessment                            -
                                                                      Fine                      Total Restitution

          Totals:               $100.00                               Waived                    N/A


-         The determination of restitution is deferred until            .      An Amended Judgment in a Criminal Case ( A 0 245C) will
          be entered after such determination.
-         The defendant must make restitution (including community restitution) to the following payees in the amount listed
          below.
          If the defendant makes a partial payment. each payee shall receive an approximately proportioned payment, unless
          specified otherwise in the priority order or ercentage payment column below. However, pursuant to 18 U.S.C. 9:
          3664(i), all nonfederal victims must be palabefore the United States.
                                                                                                               Priority Order or
                                                       Total                      Amount of                    Percentage of
 Name of Pavee                                       Amount of Loss            Restitution Ordered             Pavment




                                Totals:              L                         -
                                                                               $


 -         Restitution amount ordered pursuant to plea agreement $
-          The defendant shall pay interest on any fine or restitution of more than $2,500, unless the restitution or fine is paid in full
           before the fifteenth day after the date of the judgment, pursuant to 18 U .S.C. # 3612(f). All of the payment options on Sheet
           6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).
 -         The court determined that the defendant does not have the ability to pay interest and it is ordered that:
         -          the interest requirement is waived for the - fine          - restitution.

         -          the interest requirement for the - fine - restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 1OgA, 1 10. 1 I OA, and 113A of Title 18 for the offenses committed
on or after September 13, 1994, but before April 23, 1996.
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A 0 245B (Rev 06/05) Sheet 6 - Schedule of Payments
Defendant:        NIKISHA LOFTON                                                                     Judgment - Page 6 of 6
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                                                 SCHEDULE OF PAYMENTS



Having assessed the defendant's ability to pay. payment of the total criminal monetary penalties are due as follows:

                  Lump sum payment of $ 100.00 due immediately, balance due
                            -not later than                    . or
                            -in accordance - C , - D, - E or - F below: or
                  Payment to begin immediately (may be combined with -C, -D. or -F below): or
                  Payment in equal                 (e.g., weekly. monthly, quarterly) installments of $              over a
                  period of          (e.g., months or years), to commence             days (e .g .. 30 or 60 days) after the
                  date of this judgment: or
                  Payment in equal                (e.g .. weekly, monthly, quarterly) installments of $               over a
                  period of
                               . (e.g., ~nonthsor years) to commence                      (e.g. 30 or 60 days) after release
                  from imprisonment to a term of supervision: or
                  Payment during the term of supervised release will commence within                         (e.g., 30 or
                  60 days) after release from imprisonment. The court will set the payment plan based on an assessment of
                  the defendant's ability to pay at that time. or
                  Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise. if this judgment imposes a period of im                          payment of criminal
                                        e:
monetary penalties is due during im risonment. All crin?inal monetary penalties. except
Federal Bureau of Prisons' Inmate inancial Responsibility Program, are made to the
                                                                                                                     made through the

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-        Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
Several Amount, and corresponding payee, if appropriate:


-        The defendant shall pay the cost of prosecution.
-        The defendant shall pay the following court cost(<):
X
-        The defendant shall forfeit the defendant's interest in the following property to the United States:
The Court orders that the defendant forfeit to the United States immediately and voluntaril an and all assets and property.
                                                                                                     i i"
or portions thereof. sub-ject to forfeiture. which are in the possession or control of t e efendant or the defendant's
nominees.


Payments shall be applied in the following order: (1) assessment. (2) restitution principal, ( 3 )restitution interest, (4) fine principal,
(5) community restitution. (6) fine interest (7) penalties, and (8) costs, including cost of prosecution and court costs.
